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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.


                       GOVERNMENT’S NOTICE OF TESTIMONY

        The United States of America, by and through undersigned counsel, hereby provides

written notice of its intent to introduce testimony regarding the Internet Protocol (“IP”) addresses

used to access certain social media accounts related to this case.

   I.      Factual Background

        Count One of the Superseding Indictment charges defendant Concord Management and

Consulting LLC and its co-conspirators with conspiracy to defraud the United States by

interfering with the lawful government functions of the Federal Election Commission (“FEC”),

the Justice Department Foreign Agents Registration Act Unit (“DOJ FARA Unit”), and the State

Department. The Superseding Indictment alleges that, as part of this interference activity, the

conspirators “operated social media pages and groups designed to attract U.S. audiences.” Doc.

247 ¶ 3. The Superseding Indictment further alleges that these social media pages and groups

“falsely claimed to be controlled by U.S. activists when, in fact, they were controlled by the

Defendants.” Id. The Superseding Indictment describes in detail the conspirators’ use of social

media platforms such as Facebook and Instagram. Id. ¶¶ 32-38. The Superseding Indictment

alleges that the conspirators used those social media platforms to purchase political


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advertisements, id. ¶¶ 48-50, and to organize and coordinate political rallies in the United States,

id. ¶¶ 51-57. The Superseding Indictment further alleges that, in order to hide their Russian

identities, the conspirators used computer servers inside the United States to set up virtual private

networks, which allowed them to access online social media accounts “while masking the

Russian origin and control of the activity.” Id. ¶ 39. This use of virtual private networks to

conceal their Russian identities was one of the means by which the conspirators interfered with

the lawful government functions of the FEC and the DOJ FARA Unit.

   II.      Description of the Witness’s Testimony

         The witness, FBI Analyst Elizabeth Patrone, will testify about the conspirators’ use of

computer infrastructure. Ms. Patrone will testify that records produced by social media

companies related to the social media accounts used by the conspirators show the Internet

Protocol (“IP”) addresses used to access those accounts. (In the case of individual social media

accounts, the records show the IP address used by the account holder to access the account. In

the case of Facebook group accounts, the records show the IP address used by the account

creator or administrator to access the account.) Ms. Patrone will testify that, in some instances,

the IP address used to access the social media account was operated by a company called Green

Floid. Records produced to the government by Green Floid show that these IP addresses were

used as virtual private servers, which means that these IP addresses were accessed from

elsewhere and routed through Green Floid’s servers. The IP addresses used to access the

relevant social media accounts were assigned to individuals accessing Green Floid’s servers from

IP addresses in Russia associated with the Internet Research Agency and Concord Management

and Consulting. Those same Russian IP addresses were also used by members of the conspiracy

to access their personal email accounts.

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   III.      Bases for Witness’s Testimony

          Ms. Patrone will base her testimony on her analysis of the records provided by the social

media companies, by Green Floid, and by the Internet service providers (including Google) who

hosted the personal email accounts of the conspirators.

   IV.       The Witness’s Qualifications

          Ms. Patrone’s qualifications are summarized in her resume, which will be provided to the

defense under separate cover. Her qualifications include her experience as an analyst with the

FBI.

                                        Respectfully submitted,


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